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                                    UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF SOUTH CAROLINA
IN RE:                                                                         CASE NO: 20-03867-DD

VERNON DAVON MITCHELL                     XXX-XX-8479                                (CHAPTER 13)
(Vernon D Mitchell, Vernon Mitchell)
206 YVONNE CIRCLE                                                       NOTICE OF MOTION/APPLICATION AND
LADSON, SC 29456                                                            OPPORTUNITY FOR HEARING

                                          Debtor


           NOTICE OF MOTION TO DISMISS CHAPTER 13 CASE AND POSSIBLE HEARING

    James M. Wyman, the Chapter 13 Trustee, has filed papers with the court to dismiss this Chapter 13 case .

    Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case . (If you do not have an attorney, you may wish to consult
one.)

    If you do not want the court to dismiss this Chapter 13 case , or if you want the court to consider your views on
the motion to dismiss, then within twenty-one (21) days of service of this notice, you or your attorney must:

    File with the court a written response , return, or objection at:

                  U.S. Bankruptcy Courthouse
                  1100 Laurel Street
                  Columbia, SC 29201-2423

    Responses, returns, or objections filed by an attorney must be electronically filed in ecf .scb.uscourts.gov.

     If you mail your response, return, or objection to the court for filing , you must mail it early enough so the court
will receive it on or before the date stated above .

    You must also send a copy to:

                  James M. Wyman
                  Office of the Chapter 13 Trustee
                  P.O. Box 997
                  Mt. Pleasant, SC 29465-0997
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   Attend the hearing scheduled to be heard on October 27 , 2021, at 10:00 am at the United States Bankruptcy
Court, 145 King Street, Room 225, Charleston, SC 29401.

       If you or your attorney do not take these steps , the court may decide that you do not oppose the relief sought
in the motion and may enter an order granting that relief prior to the scheduled hearing date , if determined to be
appropriate.




 Dated: September 03, 2021                                        /s/ Russell Jackson, II
                                                                  PO Box 997
                                                                  Mt. Pleasant, SC 29465-0997
                                                                  Phone: (843) 388-9844
                                                                  Fax: (843) 388-9877
                                                                  Email: 13office@charleston13 .com
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                                 UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF SOUTH CAROLINA


IN RE:                                                  CASE NO: 20-03867-DD

VERNON DAVON MITCHELL                                   (CHAPTER 13)

                                                          TRUSTEE'S MOTION TO DISMISS CHAPTER 13 CASE
                                                                      FOR NON-PAYMENT
                           Debtor

     NOW COMES the Chapter 13 Trustee in this case and alleges:

     1. This court has juridiction over this matter under 28 U.S.C. Section 1334 and 11 U.S.C Section 1307(c)(5).

     2. The Debtor in this case has not made the required payments under the plan .

     3. Debtor Is past due $3,415.00 as of August 2021. The Trustee requests that the Debtor cure the

      Payments as follows to be received by the Trustee by the end of the following months:
          September 2021      at $1,135.00                    April 2022         at $1,420.00
          October 2021        at $1,420.00                    May 2022           at $1,420.00
          November 2021       at $1,420.00                    June 2022          at $1,420.00
          December 2021       at $1,420.00                    July 2022          at $1,420.00
          January 2022        at $1,420.00                    August 2022        at $1,420.00
          February 2022       at $1,420.00                    September 2022     at $1,420.00
          March 2022          at $1,420.00
         Resume regular monthly payments of $1,135.00 beginning October 15, 2022.
    4. If the Debtor is currently or in the process of having Trustee payments automatically debited from a
    paycheck, ONLY the Debtor('s) regular monthly payment can be deducted . Debtor are responsible for sending
    in the EXTRA payments needed to bring the case current .

    5. The Trustee requests that should the Debtor fail to cure the delinquency as set forth above , that an order be
    entered dismissing the case.

Dated: September 03, 2021                                      /s/ James M. Wyman
                                                               James M. Wyman
                                                               Chapter 13 Trustee
                                                               PO Box 997
                                                               Mt. Pleasant, SC 29465-0997
                                                               Phone: (843) 388-9844
                                                               Fax: (843) 388-9877
                                                               Email: 13office@charleston13 .com
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20-03867-DD
                                CERTIFICATE OF SERVICE

 I did this date serve the attached document(s) on the parties listed below by placing the same
 in the United States mail with proper postage affixed thereto and addressed as follows :

VERNON DAVON MITCHELL
206 YVONNE CIRCLE
LADSON, SC 29456




Moss & Associates, PA
2170 Ashley Phosphate Road
First Citizens Bldg, Ste 405
North Charleston, SC 29406-0000

Date: September 03, 2021                               /s/ Russell Jackson, II
                                                       PO Box 997
                                                       Mt. Pleasant, SC 29465-0997
                                                       Phone: (843) 388-9844 x 3002
                                                       Fax: (843) 388-9877
                                                       Email: 13office@charleston13.com
